
673 S.E.2d 866 (2009)
STATE of North Carolina
v.
Lithomas Dewayne GRAHAM.
No. 564P08.
Supreme Court of North Carolina.
February 5, 2009.
LiThomas D. Graham, Pro Se.
Marc Bernstein, Special Deputy Attorney General, Thomas J. Keith, District Attorney, for State of NC.


*867 ORDER

Upon consideration of the petition filed on the 23rd day of December 2008 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 5th day of February 2009."
